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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION



SAMA CAMP, LLC,

      Plaintiff,
                                        CIVIL ACTION FILE
v.
                                        NO. 1:22-cv-1722-TCB
SAMA TEA, LLC; SAMA
WORLDWIDE INC.; SAMA
BEVERAGES, LLC; 100.CO; JAY
SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and
JAMES BRENNAN,

      Defendants.



                               ORDER

     This case comes before the Court on (1) Plaintiff’s motion [35] to

stay discovery pending resolution of the motion to dismiss, and (2)

Plaintiff’s motion [36] for oral argument on the motion to dismiss.

     The Court will grant the motion for oral argument. This Court’s

policy is to grant a request for oral argument on a contested motion

when the lawyer is less than five years out of law school. While
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Plaintiff’s lawyer here is just over five years out of law school, the Court

will grant the motion in light of the COVID-19 pandemic and its

limiting effect on in-person, courtroom opportunities.

     However, Plaintiff’s motion to stay discovery will not be granted at

this time. Plaintiff wants an immediate response because a discovery

deadline will occur on September 21, 2022. But Defendants have not yet

had an opportunity to respond because Plaintiff’s motion was filed two

days ago.

     To that effect, the Court will grant a discovery stay if both parties

file a consent motion to do so. But if Defendants oppose the motion, a

response may be filed by September 27, 2022. If so, the Court will

consider the motion to stay alongside the motion to dismiss at oral

argument.

     The Court will hold oral argument on October 11, 2022, at

2:00 pm. Parties should prepare to address Plaintiff’s motion [25] to

dismiss and, if opposed, Plaintiff’s motion [35] to stay discovery.

Discovery should proceed in the interim.




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     For the foregoing reasons, Plaintiff’s motion [36] for oral argument

is granted, and Plaintiff’s motion [35] to stay discovery is reserved for a

later date.

     IT IS SO ORDERED this 15th day of September, 2022.



                                   ____________________________________
                                   Timothy C. Batten, Sr.
                                   Chief United States District Judge




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